                             Case 22-90323 Document 1 Filed in TXSB on 10/04/22 Page 1 of 12

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Montrose Multifamily Members, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      2 – 1     6   9    5   4    3   3
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  4203 Montrose Blvd
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Houston, TX 77006
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                  Harris                                                        Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor      Montrose Multifamily Members, LLC                                                                    Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        Montrose Multifamily Members, LLC                                                                Case number (if known)
             Name


  11. Why is the case filed in this     Check all that apply:
      district?
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ❑
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have       ✔ No
                                        ❑
      possession of any real
      property or personal property
                                        ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?                                  ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?


                                                  ❑     It needs to be physically secured or protected from the weather.
                                                  ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                  ❑     Other
                                                  Where is the property?
                                                                             Number         Street




                                                                             City                                           State       ZIP Code
                                                  Is the property insured?
                                                  ❑ No
                                                  ❑ Yes.        Insurance agency
                                                                Contact name
                                                                Phone

          Statistical and administrative information

         13. Debtor’s estimation of     Check one:
             available funds?           ❑ Funds will be available for distribution to unsecured creditors.
                                        ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                        ❑
                                           creditors.

         14. Estimated number of
                                         ✔
                                         ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                   ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets            ❑    $0-$50,000                       ✔
                                                                               ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                         ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                         ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                         ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        Montrose Multifamily Members, LLC                                                                     Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     10/04/2022
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Christopher Bran                                                 Printed name
                                                                                                                                          Christopher Bran
                                                    Signature of authorized representative of debtor


                                                            Manager of Bran Enterprises II, LLC, Managing
                                                    Title               Partner of the Debtor



         18. Signature of attorney
                                                ✘                     /s/ Susan Tran Adams                             Date      10/04/2022
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Susan Tran Adams
                                                    Printed name

                                                     TRAN SINGH, LLP
                                                    Firm name

                                                     2502 La Branch St.
                                                    Number          Street


                                                     Houston                                                              TX               77004
                                                    City                                                                 State            ZIP Code



                                                                                                                           stran@ts-llp.com
                                                    Contact phone                                                         Email address



                                                     24075648                                                              TX
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name                     Montrose Multifamily Members, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     10/04/2022
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Christopher Bran
                                                                                Signature of individual signing on behalf of debtor


                                                                                Christopher Bran
                                                                                Printed name


                                                                                Manager of Bran Enterprises II, LLC,
                                                                                Managing Partner of the Debtor
                                                                                Position or relationship to debtor


Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                             Case 22-90323 Document 1 Filed in TXSB on 10/04/22 Page 6 of 12

 Fill in this information to identify the case:

 Debtor name                     Montrose Multifamily Members, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                       12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1




2




3




4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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Debtor       Montrose Multifamily Members, LLC                                                                Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                      DLP Capital
                      405 Golfway West Drive
                      Saint Augustine, FL 32095
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Montrose Multifamily Members, LLC                                              CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      10/04/2022            Signature                              /s/ Christopher Bran
                                             Christopher Bran, Manager of Bran Enterprises II, LLC, Managing Partner of the
                                                                                Debtor
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                                                   United States Bankruptcy Court
                                                         Southern District of Texas

In re   Montrose Multifamily Members, LLC                                                          Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for     Montrose Multifamily Members, LLC        in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔
❑   None [Check if applicable]




             10/04/2022                                            /s/ Susan Tran Adams
Date                                              Susan Tran Adams
                                                  Signature of Attorney or Litigant
                                                  Counsel for Montrose Multifamily Members, LLC
                                                  Bar Number: 24075648
                                                  TRAN SINGH, LLP
                                                  2502 La Branch St.
                                                  Houston, TX 77004
                                                  Phone: (832) 975-7300
                                                  Email: stran@ts-llp.com




                                                                          1
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                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

IN RE:                                                                               CHAPTER 11
Montrose Multifamily Members, LLC

DEBTOR(S)                                                                            CASE NO


                                      LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security               Class of Security          Number Registered             Kind of Interest
Last Known Address or Place of Business                                                                      Registered


                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

   I, the    Manager of Bran Enterprises II, LLC, Managing Partner of the Debtor of the
                  Public Corporation                     named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing list and that it is true and correct to the best of my information and belief.



Date: 10/04/2022                                     Signature: /s/ Christopher Bran
                                                                Christopher Bran, Manager of Bran Enterprises II, LLC, Managing Partner of
                                                                the Debtor
                    Case 22-90323 Document 1 Filed in TXSB on 10/04/22 Page 12 of 12
                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                               §
IN RE:                                                         §
Montrose Multifamily Members, LLC                              § Case No.
                                                               §
                          Debtor(s)                            § Chapter 11

                             DECLARATION FOR ELECTRONIC FILING OF
                       BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in this
case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the
social security information disclosed in this document, is true and correct. I understand that this Declaration is to be
filed with the Bankruptcy Court within five (5) business days after the petition and lists of creditors have been filed
electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of my
case.

❑      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
       I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
       am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
       relief available under each chapter, and choose to proceed under chapter 7.

✔
❑      [Only include if petitioner is a corporation, partnership or limited liability company] --
       I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
       creditors on behalf of the debtor in this case.

Date                                /s/ Christopher Bran
10/04/2022
                           Christopher Bran
                           Manager of Bran Enterprises II, LLC,
                           Managing Partner of the Debtor
                           EIN No. 5 4 3 3




PART II: DECLARATION OF ATTORNEY:

I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part
I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date                                /s/ Susan Tran Adams
10/04/2022                 Susan Tran Adams
                           Attorney
